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 4
     Attorney for Defendant
 5   EDWARD FUENTES
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 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )            No. CR-S 07-248-WBS
                                     )
13                   Plaintiff,      )
                                     )            DEFENDANT’S APPLICATION AND
14        v.                         )            ORDER TO SEAL DEFENDANTS’
                                     )            JOINT EXHIBITS IN SUPPORT OF
15                                   )            THEIR MOTION TO DISMISS AND TO
     MARIO DIAZ, et. al.,            )            SUPPRESS WIRETAP INTERCEPTS
16                                   )
                                     )            Hearing:
17                                   )            Date: July 19, 2010
                                     )            Time: 10:30 a.m.
18                                   )            Hon. William B. Shubb
                     Defendants.     )
19   _______________________________ )
20
21         Defendant Edward Fuentes, through counsel John Balazs, hereby applies for an
22   order to seal the Defendants’ Joint Exhibits in support of their motion to dismiss and their
23   motion to suppress wiretap intercepts, which were filed today. This application is made
24   because the exhibits sought to be sealed contain the names and identifying information of
25   one or more government confidential informants. A hard copy of defendants exhibits will
26   be provided to government counsel.
27   ///
28   ///
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 1         A table of contents for defendants’ joint set of exhibits has been provided as an
 2   attachment to this application.
 3         Dated: May 7, 2010
 4                                         Respectfully submitted,
 5
 6                                         /s/ John Balazs
                                           JOHN BALAZS
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                                           Attorneys for Defendant
 8                                         EDWARD FUENTES
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 1                                       ORDER
 2        For the reasons stated in the application set forth above, the
 3   Court hereby orders defendants’ joint exhibits in support of their
 4   motion to dismiss and motion to suppress wiretap intercepts is hereby
 5   ordered sealed until further order of the Court.
 6        Dated:   May 11, 2010
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